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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED
STATES VIRGIN ISLANDS,

                     Plaintiff,
v.

JPMORGAN CHASE BANK, N.A.,

                     Defendant/Third-Party        Case No. 22-cv-10904 (JSR)
                     Plaintiff,
v.

JAMES EDWARD STALEY,

                      Third-Party
                      Defendant.


JANE DOE, individually and on behalf of all
others similarly situated,

                      Plaintiff,
v.

JPMORGAN CHASE BANK, N.A.,                        Case No. 22-cv-10019 (JSR)

                      Defendant/Third-Party
                      Plaintiff,
v.

JAMES EDWARD STALEY,

                      Third-Party
                      Defendant.



  DECLARATION OF FELICIA H. ELLSWORTH IN SUPPORT OF JPMORGAN
 CHASE BANK, N.A.’S OPPOSITION TO THIRD PARTY DEFENDANT’S MOTION
                      FOR SUMMARY JUDGMENT




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Pursuant to 28 U.S.C. § 1746, I, Felicia H. Ellsworth, declare under penalty of perjury as

follows:

    1. I am a member in good standing of the bar of the Commonwealth of Massachusetts. I

           am one of the attorneys representing Defendant JPMorgan Chase Bank, N.A. (“JPMC”)

           in the above-captioned action and have been admitted to this Court pro hac vice. I am a

           Partner with the law firm of Wilmer Cutler Pickering Hale and Dorr LLP, 60 State

           Street, Boston, Massachusetts 02109. I am familiar with the facts set forth herein, and if

           called as a witness, I could and would competently testify thereto.

    2. Attached as Exhibit 1 is a true and correct copy of excerpts of the transcript from the

           June 10, 2023, deposition of James Staley, designated confidential pursuant to the

           Protective Order in this matter and filed under seal.

    3. Attached as Exhibit 2 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00178144_R, designated confidential pursuant to the

           Protective Order in this matter and filed under seal.

    4. Attached as Exhibit 3 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00178391, designated confidential pursuant to the

           Protective Order in this matter and filed under seal.

    5. Attached as Exhibit 4 is a true and correct of copy of excerpts of the transcript from the

           May 30, 2023, deposition of Francis Pearn.

    6. Attached as Exhibit 5 is a true and correct copy of excerpts of the transcript from the

           April 21, 2023, deposition of Justin Nelson.




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7. Attached as Exhibit 6 is a true and correct copy of excerpts of the transcript from the

   May 26, 2023, deposition of James Dimon, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

8. Attached as Exhibit 7 is a true and correct copy of excerpts of the transcript from the

   July 18, 2023, deposition of Catherine Keating, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

9. Attached as Exhibit 8 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002037, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

10. Attached as Exhibit 9 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001394, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

11. Attached as Exhibit 10 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001626, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

12. Attached as Exhibit 11 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001462, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

13. Attached as Exhibit 12 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001463, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

14. Attached as Exhibit 13 is a true and correct copy of excerpts of the transcript from the

   April 28, 2023, deposition of Kevin McCleerey.




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15. Attached as Exhibit 14 is a true and correct copy of excerpts of the transcript from the

   July 12, 2023, deposition of William Marcus Sheridan, designated confidential pursuant

   to the Protective Order in this matter and filed under seal.

16. Attached as Exhibit 15 is a true and correct copy of excerpts of the transcript from the

   July 13, 2023, deposition of John Duffy, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

17. Attached as Exhibit 16 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00012641, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

18. Attached as Exhibit 17 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00149050.

19. Attached as Exhibit 18 is a true and correct copy of excerpts of the transcript from the

   July 12, 2023, deposition of Mary Erdoes.

20. Attached as Exhibit 19 is a true and correct copy of excerpts of the transcript from the

   July 10, 2023, deposition of Stephen Cutler.

21. Attached as Exhibit 20 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00755251.

22. Attached as Exhibit 21 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00100770.

23. Attached as Exhibit 22 is a true and correct copy of excerpts of the transcript from the

   July 13, 2023, deposition of Francis Pearn, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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24. Attached as Exhibit 23 is a true and correct copy of an article titled, “Epstein Scandal,

   Barclays Boss Investigated Over ‘Professional Relationship’ with Paedo Jeffrey

   Epstein,” dated February 13, 2020, available at

   https://www.thesun.co.uk/news/10954385/barclays-boss-jes-staley-investigated-jeffrey-

   epstein-professional-relationship/.

25. Attached as Exhibit 24 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00149726, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

26. Attached as Exhibit 25 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00731259, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

27. Attached as Exhibit 26 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00100605.

28. Attached as Exhibit 27 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_006622, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

29. Attached as Exhibit 28 is a true and correct copy of the September 11, 2014 FinCEN

   Advisory Fin-2014-A008.

30. Attached as Exhibit 29 is a true and correct copy of excerpts of the transcript from the

   August 14, 2023, deposition of Francis Pearn, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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31. Attached as Exhibit 30 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00920680, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

32. Attached as Exhibit 31 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00920690, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

33. Attached as Exhibit 32 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00920705, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

34. Attached as Exhibit 33 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00920695, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

35. Attached as Exhibit 34 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00920672, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

36. Attached as Exhibit 35 is a true and correct copy of excerpts of the transcript from the

   July 14, 2023, deposition of Jonathan Schwartz.

37. Attached as Exhibit 36 is a true and correct copy of excerpts of the transcript from the

   June 11, 2023, deposition of James Staley, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

38. Attached as Exhibit 37 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006592.




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39. Attached as Exhibit 38 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013463, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

40. Attached as Exhibit 39 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013402.

41. Attached as Exhibit 40 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00194065.

42. Attached as Exhibit 41 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00099897.

43. Attached as Exhibit 42 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-01035045.

44. Attached as Exhibit 43 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00178378.

45. Attached as Exhibit 44 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00178379.

46. Attached as Exhibit 45 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00178380.

47. Attached as Exhibit 46 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00178381.

48. Attached as Exhibit 47 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00178382.

49. Attached as Exhibit 48 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00178383.




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    50. Attached as Exhibit 49 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00274948.

    51. Attached as Exhibit 50 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00274984.

    52. Attached as Exhibit 51 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00275020.

    53. Attached as Exhibit 52 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00149115.

    54. Attached as Exhibit 53 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00275091.

    55. Attached as Exhibit 54 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00149210.

    56. Attached as Exhibit 55 is a true and correct copy of JPMC’s Fourth Supplemental Initial

           Disclosures served on July 18, 2023.

    57. Attached as Exhibit 56 is a true and correct copy of JPMC’s Fifth Supplemental Initial

           Disclosures served on July 18, 2023.

    58. Attached as Exhibit 57 is a true and correct copy of excerpts of the transcript from the

           March 3, 2023, deposition of Jane Doe 1, designated confidential pursuant to the

           Protective Order in this matter and filed under seal. 1




       1
        Certain proper names are redacted from the sealed version in order to ensure the
confidentiality and privacy of victims.



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   59. Attached as Exhibit 58 is a true and correct copy of a document produced by Jane Doe 1,

       Bates stamped JDoe_JPMC_007837, designated confidential pursuant to the Protective

       Order in this matter and filed under seal. 2

    60. Attached as Exhibit 59 is a true and correct copy of a document produced by Jane Doe 1,

           Bates stamped JDoe_JPMC_000956, designated confidential pursuant to the Protective

           Order in this matter and filed under seal. 3

    61. Attached as Exhibit 60 is a true and correct copy of a document produced by Jane Doe 1,

           Bates stamped JDoe_DBAG_009963, designated confidential pursuant to the Protective

           Order in this matter and filed under seal. 4

    62. Attached as Exhibit 61 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00006171.

    63. Attached as Exhibit 62 is a true and correct copy of a document produced by third party

           The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002773, designated

           confidential pursuant to the Protective Order in this matter and filed under seal.

    64. Attached as Exhibit 63 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00006718.

    65. Attached as Exhibit 64 is a true and correct copy of a document produced by JPMC,

           Bates stamped JPM-SDNYLIT-00006716, designated confidential pursuant to the

           Protective Order in this matter and filed under seal.




       2
         Certain proper names are redacted from the sealed version in order to ensure the
confidentiality and privacy of victims.
       3
         Certain proper names are redacted from the sealed version in order to ensure the
confidentiality and privacy of victims.
       4
         Certain proper names are redacted from the sealed version in order to ensure the
confidentiality and privacy of victims.



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66. Attached as Exhibit 65 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006791.

67. Attached as Exhibit 66 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006792, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

68. Attached as Exhibit 67 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00008342.

69. Attached as Exhibit 68 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00008669.

70. Attached as Exhibit 69 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00003569.

71. Attached as Exhibit 70 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002701, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

72. Attached as Exhibit 71 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001589, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

73. Attached as Exhibit 72 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_005147, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

74. Attached as Exhibit 73 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013210, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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75. Attached as Exhibit 74 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013475.

76. Attached as Exhibit 75 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013669.

77. Attached as Exhibit 76 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013762.

78. Attached as Exhibit 77 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM003612, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

79. Attached as Exhibit 78 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM003630, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

80. Attached as Exhibit 79 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM003801, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

81. Attached as Exhibit 80 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00023238, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

82. Attached as Exhibit 81 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM017538, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.




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83. Attached as Exhibit 82 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM017540, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

84. Attached as Exhibit 83 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00005845, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

85. Attached as Exhibit 84 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006553, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

86. Attached as Exhibit 85 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006886, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

87. Attached as Exhibit 86 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00010121, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

88. Attached as Exhibit 87 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00010989, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

89. Attached as Exhibit 88 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00012289, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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90. Attached as Exhibit 89 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00012466, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

91. Attached as Exhibit 90 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00099334.

92. Attached as Exhibit 91 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00004661.

93. Attached as Exhibit 92 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM001758, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

94. Attached as Exhibit 93 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006586.

95. Attached as Exhibit 94 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006874.

96. Attached as Exhibit 95 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00012494.

97. Attached as Exhibit 96 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00003060.

98. Attached as Exhibit 97 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00004394, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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99. Attached as Exhibit 98 is a true and correct copy of a document produced by JPMC,

    Bates stamped JPM-SDNYLIT-00004388, designated confidential pursuant to the

    Protective Order in this matter and filed under seal.

100. Attached as Exhibit 99 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002742, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

101. Attached as Exhibit 100 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00006704, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

102. Attached as Exhibit 101 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00010330, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

103. Attached as Exhibit 102 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00010603, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

104. Attached as Exhibit 103 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00004186, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

105. Attached as Exhibit 104 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00010284.

106. Attached as Exhibit 105 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM003001, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.




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107. Attached as Exhibit 106 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_JPM002019.

108. Attached as Exhibit 107 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013770.

109. Attached as Exhibit 108 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_004285, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

110. Attached as Exhibit 109 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_004300, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

111. Attached as Exhibit 110 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_004303, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

112. Attached as Exhibit 111 is a true and correct copy of a document produced by third party

   The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_003218, designated

   confidential pursuant to the Protective Order in this matter and filed under seal.

113. Attached as Exhibit 112 is a true and correct copy of the February 13, 2020, Barclays

   Director Effectiveness Assessment: Disclosure of Regulatory Investigation.

114. Attached as Exhibit 113 is a true and correct copy of excerpts of the transcript from the

   May 3, 2023, deposition of William Langford, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

115. Attached as Exhibit 114 is a true and correct copy of excerpts of the transcript from the

   April 7, 2023, deposition of Mary Casey.




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116. Attached as Exhibit 115 is a true and correct copy of excerpts of the transcript from the

   March 15, 2023, deposition of Mary Erdoes.

117. Attached as Exhibit 116 is a true and correct copy of excerpts of the transcript from the

   August 24, 2023, deposition of Lisa Waters.

118. Attached as Exhibit 117 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00447294.

119. Attached as Exhibit 118 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00099899.

120. Attached as Exhibit 119 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00007344.

121. Attached as Exhibit 120 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00123680.

122. Attached as Exhibit 121 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00007895.

123. Attached as Exhibit 122 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00009550.

124. Attached as Exhibit 123 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00011795.

125. Attached as Exhibit 124 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00013688.

126. Attached as Exhibit 125 is a true and correct copy of excerpts of the transcript from the

   July 6, 2023, deposition of Mary Casey.




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127. Attached as Exhibit 126 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00127953.

128. Attached as Exhibit 127 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00001893.

129. Attached as Exhibit 128 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00449994.

130. Attached as Exhibit 129 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00274766.

131. Attached as Exhibit 130 is a true and correct copy of a document produced by Jane Doe

   1, Bates stamped JDoe_JPMC_001314, designated confidential pursuant to the Protective

   Order in this matter and filed under seal.

132. Attached as Exhibit 131 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00751728.

133. Attached as Exhibit 132 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00450343.

134. Attached as Exhibit 133 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00127944.

135. Attached as Exhibit 134 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-W-00026008, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

136. Attached as Exhibit 135 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-W-00031038, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.




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137. Attached as Exhibit 136 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00274774, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

138. Attached as Exhibit 137 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00127930, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

139. Attached as Exhibit 138 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00157127.

140. Attached as Exhibit 139 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00274429, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

141. Attached as Exhibit 140 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00205452.

142. Attached as Exhibit 141 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00754926, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

143. Attached as Exhibit 142 is a true and correct copy of excerpts of the transcript from the

   May 24, 2023, deposition of Stephen Cutler.

144. Attached as Exhibit 143 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00127928.

145. Attached as Exhibit 144 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00454037.




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146. Attached as Exhibit 145 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00755043.

147. Attached as Exhibit 146 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00136519, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

148. Attached as Exhibit 147 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00231636, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

149. Attached as Exhibit 148 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00230825, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

150. Attached as Exhibit 149 is a true and correct copy of excerpts of the transcript from the

   May 10, 2023, deposition of Bonnie Perry.

151. Attached as Exhibit 150 is a true and correct copy of excerpts of the transcript from the

   April 19, 2023, deposition of Philip DeLuca, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

152. Attached as Exhibit 151 is a true and correct copy of excerpts of the transcript from the

   May 24, 2023, deposition of Maryanne Ryan, designated confidential pursuant to the

   Protective Order in this matter and filed under seal.

153. Attached as Exhibit 152 is a true and correct copy of a document produced by JPMC,

   Bates stamped JPM-SDNYLIT-00152809.

154. Attached as Exhibit 153 is a true and correct copy of excerpts of the transcript from the

   April 18, 2023, deposition of Paul Morris.




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   155. Attached as Exhibit 154 is a true and correct copy of a document produced by third party

       The Estate of Jeffrey E. Epstein, Bates stamped ESTATE_005175, designated

       confidential pursuant to the Protective Order in this matter and filed under seal.

   156. Attached as Exhibit 155 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00274527.

   157. Attached as Exhibit 156 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00731595.

   158. Attached as Exhibit 157 is a true and correct copy of JPMC’s First Supplemental

       Responses and Objections to Interrogatories in Lieu of Rule 30(b)(6) Deposition

       Testimony served on April 14, 2023, designated confidential pursuant to the Protective

       Order in this matter and filed under seal.

   159. Attached as Exhibit 158 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00002141.

   160. Attached as Exhibit 159 is a true and correct copy of a document produced by JPMC,

       Bates stamped JPM-SDNYLIT-00194181, designated confidential pursuant to the

       Protective Order in this matter and filed under seal.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

 Dated: September 8, 2023                           /s/ Felicia Ellsworth

                                                    Felicia H. Ellsworth




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